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                             ORDER

     It is so ordered.

     DATED: March 25, 2015                ____________________________
                                           United States Magistrate Judge
